                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In re:                                             Case No. 12-44593

JAMES LOUIS DEMETER,                               Chapter 7
and
GLORY LEE DEMETER,                                 Judge Thomas J. Tucker

            Debtors.
_________________________________/

           ORDER OVERRULING TRUSTEE'S OBJECTION TO DEBTORS’
              CLAIMS OF EXEMPTION UNDER 11 U.S.C. § 522(d)(1)

       This case came before the Court on the Chapter 7 Trustee's objection to the Debtors’
claims of exemption (Docket # 26, the “Exemption Objections”). In its Opinion and Order filed
on June 19, 2012 (Docket # 62), the Court ruled in part on the Exemption Objections. Currently
remaining unresolved is the part of the Exemption Objections that object to the Debtors’ claims
of exemption, under 11 U.S.C. § 522(d)(1), of the real property at 5192 U.S. 23, Cheboygan,
Michigan.

       The Court held an evidentiary hearing, on July 9, 2012, and took the matter under
advisement. Today the Court has filed a written opinion (Docket # 80). For the reasons stated in
the Court’s written opinion,

       IT IS ORDERED that to the extent that the Exemption Objections (Docket # 26) object to
the Debtors’ claims of exemption, under 11 U.S.C. § 522(d)(1), of the real property at 5192 U.S.
23, Cheboygan, Michigan, the objections are overruled, and those exemptions are allowed.

Signed on August 31, 2012                          /s/ Thomas J. Tucker
                                                   Thomas J. Tucker
                                                   United States Bankruptcy Judge




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